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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                               __________________________

UNITED STATES OF AMERICA,

                Plaintiff,                                          Case No. 1:20-CR-183

v.                                                                  HON. ROBERT J. JONKER

ADAM DEAN FOX, and
BARRY GORDON CROFT, JR.,

            Defendants.
______________________________/

                                             ORDER

         A jury trial in this matter began on March 8, 2022. On April 8, 2022, after five days of

deliberations, the jury informed the Court that they were unable to come to a unanimous agreement

as to all counts charged in the Superseding Indictment against Defendants Fox and Croft.

Accordingly, and for the reasons stated in open court from the bench, the Court declares a mistrial

as to Counts 1 and 2, with respect to Defendant Fox, and as to Counts 1, 2, and 3, with respect to

Defendant Croft, under FED. R. CRIM. P. 31(b)(3).

         Both Defendants Fox and Croft made Rule 29 motions at the close of the government’s

case and renewed the motions after the close of all proofs. The Court denied the motions. Rule

29(c) prescribes the timeline for any further motion practice.

         IT IS SO ORDERED.



Dated:      April 12, 2022                    /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
